Case 2:04-cr-20383-SH|\/| Document 38 Filed 06/03/05 Page 1 of 2 Page|D 43

HLED B?,M_
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

 

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UNITED sTATES oF AMERICA, ) W.D. OF '§'!~3, w'if£l‘-€PHiS
)
Plaintiff, )
>

vs_ ) CR. NO. 04-20383~Ma

)
cLARENCE s. DAVIS, )
)
)

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for aa report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the Case and to
allow for the continued mental evaluation of defendant.

The Court granted the request and continued the trial
date to the rotation docket beginning August l, 2005 at 9:30 a.m.,
with a report date of Friday, July 22, 2005 at 2:00 p.m.

The period from April 21, 2005 through August 12, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 316l(h)(l)(A)
because the interests of justice in allowing for additional time to
prepare and the mental evaluation of the defendant outweigh the

need for a speedy trial.

 

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IT rs so oanERED this day of June, 2005.
` 'n compliance ~MF
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me dogma dm 32@ pach O“ sAMUEL H. MAYS, JR.
mm Fw\e 55 a“ UNITED sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-203 83 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

